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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA


 Ben Hawkins, on behalfofhimself
 and all others similarly situated.                    Case No. 1:19-cv-01186-LMB-IDD


                Plaintiff,
                                                       Hon. Judge Leonie M. Brinkema

 Navy Federal Credit Union,                            Hon. Magistrate Judge Ivan D. Davis

                Defendant.



                          PRELIMINARY CERTIFICATION ORDER


        This matter having come before the Court on Plaintiffs motion for preliminary approval

 of the proposed class action settlement of the above-captioned case (the "Action") between

 Plaintiff Ben Hawkins, individually and on behalf of the Settlement Class, and Defendant Navy

 Federal Credit Union ("Navy Federal"), as set forth in the Parties' Settlement Agreement and

 Release (the "Settlement Agreement"). Having duly considered the papers, THE COURT

 HEREBY FINDS AND ORDERS AS FOLLOWS:


         1.     The Court has jurisdiction over the subject matter of the litigation, the Parties, and

 all Settlement Class Members.


        2.      Unless defined herein, all defined terms in this Order shall have the meanings

 ascribed to them in the Settlement Agreement.

        3.      The Court has conducted a preliminary evaluation of the Settlement Agreement

 for fairness, adequacy, and reasonableness, and finds that giving notice is Justified by the Parties'

 showing that the Court will likely be able to:(i) approve the Settlement Agreement under Fed. R.

 Civ. P. 23(e)(2), and (ii) certify the Class for purposes ofJudgment on the proposal. The Court

 further finds there is cause to believe that: (i) the Settlement Agreement is fair, reasonable, and
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